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                From: Michael Geoghegan <MGeoghegan@egcc.edu>
                   To: Aimee Leishure <aleishure@student-resource.org>
              Subject: RE: EGCC Reimbursement and Profit Share Requests - September 6, 2022
                 Date: Fri, 9 Sep 2022 22: 18:20 +0000
         Importance: Normal
        Attachments: FY23_-_JULY_BOARD_REPORTS_-_ALL_PAGES.pdf
       Inline-Images: image00l.png


     Aimee - Please do not send me any profit sharing invoices, As I stated to you before, I trust you are not booking these
     as revenues and reporting same to your creditors. There wfll be no profit in the Collaboration for FY23. In July alone,
     the Collaboration lost $2.6 million and our campuses another $1.4 million all of which SRC is responsible for per the
     Hold Harmless Agreement in Exhibit B to the Collaboration Agreement. August will be little better. There is no FY23
     collaboration budget as required by the agreement and the argument that we revert to the prior year budget is neither
     practical or realistic in light of the current situation and challenges facing the Colllege. My finance staff is putting
     together a revenue estimate for FY23 for the Collaboration along with the fixed expenses of the Co ll ege. We will be
     sending that to you in the next week or so. We will also be sending you the reconciliation for Spring and summer, which1
     includes the July and August financial reports. I will pay these last two salaries and expense invoices under protest as
     we should not have to pay for SRC overhead, admission counselor and academic advis.ors when there is no enro llment
     activity taking place under DOE's cease-and-desist order. Attached is the July financ ial report.

     Michael Geoghegan, MBA, CPA
     President
     Eastern Gateway Community College
     110 John Scott Highway
     Steubenville, OH 43952
     (740) 266-9629


     From: Aimee Leishure <aleishure@student-resource.org>
     Sent: Frid ay, September 91 2022. 5:50 PM
     To: Michael Geoghegan <MGeoghegan@egcc.edu>
     Subject: EGCC Reimbursement and Profit Share Requests - September 6, 2022


     Dear President Geoghegan,


     Please find attached two invoices which include expense reimbursements and a profit share request. These are
     the first set of invoices for September 2022.

     You will note that I have removed a number of the headcount and decreased the payroll allocation to 65% from
     the 78% you've seen in previous months.

     As a reminder, the reimbursement expense invoice from August 25, 2022 in the amount of $166,731.87 remains
     outstanding. With this current invoice, there is a total of $336,325.77 outstanding for reimbursement
     expenses . I would appreciate if you could transmit the funds as soon as possible.

     Please let me know if you have any questions.
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     Respectfully yours,
     Aimee Leishure
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Aimee Leishure
Chief Financial Officer
Student Resource Center
410.350.4468


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